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NORTHERN DISTRICT OF PERERA, per COURT
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UNITED STATES OF AMERICA
V. COMPLAINT
DARIUS FIELDS CASE NUMBER: 3-17-MJ- S04 ~AF

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief. On or about June 29, 2017, in the Dallas Division of the

Northern District of Texas, defendant(s),

having been convicted of a crime punishable by imprisonment for a term exceeding one
year, did knowingly possess in and affecting interstate commerce or foreign commerce a
firearm and ammunition,

in violation of Title 18 United States Code, Section(s) 922(g)(1).

I further state that I am a(n) Special Agent with the Federal Bureau of Investigation (FBI)

and that this complaint is based on the following facts:

See attached Affidavit of Special Agent Deborah L. Michaels, FBI which is incorporated
and made a part hereof by reference.

Continued on the attached sheet and made a part hereof: XX Yes No

Signature of Complainant
Deborah L. Michaels
SA, FBI

Sworn to before me and subscribed in my presence, on this_3rd___ day of _ July, 2017, at Dallas,
Texas.

PAUL D. STICKNEY
UNITED STATES MAGISTRATE JUDGE
Name & Title of Judicial Officer Signature of Judicial Officer

   
Case 3:17-cr-00388-M Document1 Filed 07/03/17 Page 2of6 PagelD 2

AFFIDAVIT

I, Deborah L. Michaels, a Special Agent (SA) with the Federal Bureau of

Investigation (FBI), being duly sworn, depose and state the following:
INTRODUCTION AND AGENT BACKGROUND

1, I have been a Special Agent with the FBI since April 2003. During my
time as a Special Agent, I have investigated cases involving violent crimes, illegal |
narcotics, and computer crimes. I am currently assigned to investigate crimes against
children as a member of the Child Exploitation Task Force, and as such, I am responsible
for conducting criminal investigations of alleged violations of federal law, to include
kidnapping and federal firearms offenses, in violation of 18 U.S.C. § 922(g)(1).

ps I have gained experience in conducting these investigations through
training and through everyday work, including executing search warrants and
interviewing individuals who have violated such laws.

3. The information contained in this affidavit is based upon my personal
knowledge of the described investigation and from information obtained from other law
enforcement agents. Because this affidavit is being submitted for the limited purpose of
securing a criminal complaint and an arrest warrant, I have not included each and every
fact known to me concerning this investigation. Instead, I have set forth only the facts I
believe are necessary to establish probable cause to believe that DARIUS JAMAL
FIELDS, did knowingly violate 18 U.S.C. § 922(g)(1), felon in possession of a firearm.

BACKGROUND OF INVESTIGATION AND PROBABLE CAUSE

4, On or about June 28, 2017, at approximately 12:42 P.M. (CST) the

Lancaster Police Department (LPD) received a call regarding a missing minor child.
Case 3:17-cr-00388-M Document1 Filed 07/03/17 Page 3of6 PagelD 3

Specifically, officers were advised that a 13-year-old female was missing from her
residence located in the 1300 block of Southridge Dr. Lancaster, TX. A relative of the
victim (herein identified as “L.R.'”), advised that at approximately 10:30 A.M. (CST) she
received a telephone call from a private number and when L.R. answered the call a male
told her they had the victim. L.R. stated that the suspect told her that if she contacted the
police they would kill the victim. An Amber Alert was issued in regards to the
kidnapping of the minor victim.

3. Additionally, L.R. advised that her boyfriend (herein referred to as “K.P.”),
stole a large amount of narcotics from a group of individuals, one of whom L.R.
identified as DARIUS FIELDS, herein referred to as FIELDS. L.R. told LPD that the
robbery incident occurred in Dallas, TX, on or about June 26, 2017. The next day, L.R.
was asked about the robbery by a co-worker and her co-worker told L.R. that the
narcotics that were stolen belonged to FIELDS. L.R. told her co-worker that the victim
was kidnapped and the co-worker told L.R. that FIELDS had a history of kidnapping
people. Investigators interviewed the co-worker and learned the co-worker is the former
girlfriend of a relative of FIELDS.

Relevant Facts Regarding FIELDS

6. On or about June 29, 2017, the LPD obtained a precision location exigent
request for call records on the cellular number belonging to FIELDS. The precision
location records showed FIELDS to be in close proximity to the Best Western Motel,

located at 4110 West Airport, Irving, Dallas, County, TX.

 

1 The identity of the individuals in this matter are known to law enforcement, however their identities have been
redacted due to the on-going investigation.

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Case 3:17-cr-00388-M Document1 Filed 07/03/17 Page4of6 PagelD 4

da Investigators traveled to the Best Western hotel and spoke with staff
members and asked if the staff had seen either suspect at the hotel. The front desk staff
recognized FIELDS and identified him as the occupant of room #116. Investigators were
also provided with a copy of FIELDS’ driver’s license showing him as the registered
occupant of the room. The staff also reported that prior to their arrival a female, described
as sounding young, called the front desk to report that the television in the room was
having issues and requested for the television to be repaired.

8. Based upon the above information, investigators knocked on the door and
contacted FIELDS. Investigators immediately smelled the odor of marijuana emitting
from the room as FIELDS opened the door but FIELDS refused the officers entry into the
room. Due to the exigent circumstances that the kidnapping victim may still be held
against her will inside the room and the odor of marijuana emitting from inside the room,
investigators conducted a protective sweep of the room and observed a female actively
flushing marijuana down the toilet and marijuana floating in the water.

9. Due to the above, their knowledge that FIELDS was a convicted felon, and
their observation of a box of FNH 5.7x28 firearm ammunition in plain view inside the
hotel room, the Irving Police Department applied for and obtained a State of Texas search
warrant for the hotel room, signed by Judge Jackson on June 30, 2017.

10. Additionally, investigators observed keys to a Honda vehicle inside the
room. Parked directly outside of room #116 was a 2010 Black Honda bearing Texas
license plate 12R2709. Looking through the rear window of the vehicle, investigators

observed an AK47 pistol. FIELDS attempted to grant consent for investigators to search
Case 3:17-cr-00388-M Document1 Filed 07/03/17 Page5of6 PagelID5

the vehicle stating, “just search it if you want to,” and further stated the key for the
vehicle was inside of the hotel room. Based upon this information, FIELDS was in care,
custody, and control of the vehicle that contained the firearm.

11. OnJuly 1, 2017, investigators interviewed the co-owner of the black Honda
Accord, temporary plate 12R2707, who advised that she met FIELDS on or about June
29, 2017, at approximately 6:30 p.m. and FIELDS asked to trade his blue Ford Escape for
her black Honda vehicle.

12. A search warrant was subsequently executed of the black Honda accord and
the firearm located in the vehicle is described as follows:

Draco, DA9705-16RO, 7.622 39mm.

13. Information regarding the Draco firearm indicates it was manufactured in
Romania, and, thus, traveled in interstate commerce prior to FIELDS’s possession of it.

14. _ I confirmed that FIELDS is a convicted felon, having been convicted of
Theft of Property, a felony, on January 12, 2012; and Possession of Controlled
Substance, a felony, on April 24, 2012.

CONCLUSION

15. Based on the foregoing facts and circumstances, I respectfully submit that
there is probable cause to believe that on or about June 29, 2017, in the Northern District
of Texas, and DARIUS JAMAL FIELDS, convicted felon, did knowingly possess the
above described firearms and ammunition, these items previously affected interstate
commerce in that they were shipped and transported in interstate commerce, in violation

of 18 U.S.C. § 922(g)(1).
Case 3:17-cr-00388-M Document1 Filed 07/03/17 Page 6of6 PagelD 6

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DEBORAH L. MICHAELS
Special Agent

Federal Bureau of Investigation

Subscribed and sworn before me this 3" day of July, 2017.

 

 

NORTHERN DISTRICT OF TEXAS
